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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

_____________________________________________________________________________

       In re: Chelsea L. Potter,                    Case No. 19-60216

                                                    Chapter No. 7

            Debtor                        Judge Laura K. Grandy
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               NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

       Charles A. Armgardt hereby files this notice of appearance and request for notice as
counsel for Eric Homa and Deighan Law LLC d/b/a UpRight Law LLC.


DATED: April 6, 2020                                       Respectfully submitted,

                                                           /s/Charles A. Armgardt
                                                           Charles A. Armgardt
                                                           Illinois Bar No 6328149
                                                           UpRight Law LLC
                                                           Of Counsel
                                                           79 W Monroe St, 5th Floor
                                                           Chicago, IL 60603
                                                           (P) (877) 927-5451
                                                           carmgardt@uprightlaw.com
                                                           Counsel for Eric Homa, and Deighan
                                                           Law LLC d/b/a UpRight Law LLC


                                   CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was served upon all counsel of
record via CM/ECF filing system and to the debtor listed below via regular first-class mail,
proper prepaid postage and deposited at a U.S. Mailbox on or about April 6, 2020:

Chelsea L. Potter
201 W Market St
Shumway, IL 62461                                              /s/Charles A. Armgardt
                                                               Charles A. Armgardt
